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AMY KARLIN (Bar No. 155016)
(E-Mail: Amy_Karlin@fd.org)
Deputy Federal Public Defender
411 West Fourth Street, Suite 7110
Santa Ana, California 92701-4598


                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA                                    CASE NUMBER:

                                                                              SA CR 19-0047-JLS
                                             PLAINTIFF(S)
                             v.
STEPHEN BEAL                                                         NOTICE OF MANUAL FILING
                                                                           OR LODGING
                                           DEFENDANT(S).

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March 22, 2019                                                Amy Karlin
Date                                                          Attorney Name
                                                              Defendant Stephen Beal
                                                              Party Represented


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